UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                1/22/2024
 DAVID BRADBERRY,
                                Plaintiff,
                                                           23 Civ. 09440 (JHR)
                        -v.-
                                                           ORDER
 ABERCROMBIE & FITCH CO., et al.,
                                Defendants.

JENNIFER H. REARDEN, District Judge:

       On January 19, 2024, Defendants filed motions to dismiss the complaint under Rule

12(b) of the Federal Rules of Civil Procedure. Under Rule 15(a)(1)(B), a plaintiff has twenty-

one (21) days following service of a motion under Rule 12(b) to amend the complaint once as a

matter of course.

       Accordingly, it is hereby ORDERED that Plaintiff shall file any amended complaint by

Friday, February 9, 2024. Pursuant to Rule 1.D of the Court’s Individual Rules and Practices

in Civil Cases, available at https://nysd.uscourts.gov/hon-jennifer-h-rearden, any amended

complaint should be filed with a redline showing all differences between the original and revised

filing. Plaintiff will not be given any further opportunity to amend the complaint to address

issues raised by the motions to dismiss.

       If Plaintiff does amend, then by three (3) weeks after the amended complaint is filed,

Defendants shall: (1) file answers; (2) file a new motion or motions to dismiss; or (3) file a letter

or letters on ECF stating that they rely on the previously filed motions to dismiss. If Defendants

file answers or a new motion or motions to dismiss, the Court will deny the previously filed

motions to dismiss as moot. If Defendants file a new motion or motions to dismiss or indicate

that they rely on their previously filed motions, then any opposition(s) shall be filed within

fourteen days, and any reply or replies shall be filed within seven days of any opposition(s).
       If no amended complaint is filed, then Plaintiff shall file any opposition to the motions to

dismiss by Friday, February 9, 2024. Defendants’ replies, if any, shall be filed by Tuesday,

February 20, 2024.

       SO ORDERED.

Dated: January 22, 2024
       New York, New York


                                                                JENNIFER
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                                                                United States District Judge




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